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 1 LAW OFFICES OF JOSEPH SHEMARIA
   JOSEPH SHEMARIA
2
   1801 Century Park East, Suite 2400
3  Los Angeles, California 90067
   Tel: (310) 278-2660
4 Fax: (310) 988-2627
   Email: lalawyr1@gmail.com
5
   Attorney for Defendant
6 SARTAJ CHAHAL

7
                        UNITED STATES DISTRICT COURT
8
                       EASTERN DISTRICT OF CALIFORNIA
9

10

11 UNITED STATES OF AMERICA,        ) CASE NO. CR.S-09-0125-FCD
                                    )
12                     Plaintiff,   ) ORDER CONTINUING STATUS
                                    ) CONFERENCE
13      v.                          )
                                    )
14 SARTAJ CHAHAL,                   )
                                    )
15                     Defendant.   )
   ________________________________ )
16

17   GOOD CAUSE APPEARING THEREFOR,

18     IT IS HEREBY ORDERED that the Trial Confirmation Hearing/

19 Status Conference presently set for December 14, 2009 is hereby

20 continued to January 11, 2010 at 10:00 a.m.

21 Dated: December 10, 2009

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23                                        FRANK C. DAMRELL, JR.
24                                        UNITED STATES DISTRICT JUDGE

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